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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                   )
                                            )
                         Plaintiff,         )
                                            )                     CRIMINAL ACTION
v.                                          )
                                            )                     No. 06-20056-08-KHV
DEMARCUS HOUSTON,                           )
                                            )
                         Defendant.         )
____________________________________________)

                                MEMORANDUM AND ORDER

       This matter is before the Court on defendant’s Motion For Modification Of Sentence

Pursuant To Title 18 U.S.C. § 3582(c)(2) (Doc. #649) filed April 13, 2009. Defendant asks the

Court to reduce his sentence under recent retroactive amendments to the base offense levels for

crack cocaine offenses. See U.S.S.G. §§ 2D1.1, 1B1.10.

                                       Factual Background

       Defendant pled guilty to conspiracy to distribute and possess with intent to distribute

50 grams or more of cocaine base, five kilograms or more of cocaine and 100 kilograms or more of

marijuana, in violation of 21 U.S.C. §§ 841(a)(1) and 846. Based on drug quantity, defendant’s base

offense level was 32. See United States Sentencing Guidelines (“U.S.S.G.”) § 2D1.1(c)(4).

Defendant received a three-level reduction for acceptance of responsibility, resulting in an adjusted

offense level of 29. See U.S.S.G. § 3E1.1. Defendant’s total offense level of 29, with a criminal

history category III, resulted in a sentencing range of 108 to 135 months. Under Section 5G1.1 of

the Sentencing Guidelines, however, the minimum of the sentencing range was adjusted to

120 months because he was subject to a statutory minimum. On February 11, 2009, the Court

sentenced defendant to 120 months in prison.
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                                             Analysis

       In seeking relief under 18 U.S.C. § 3582(c)(2), defendant relies on the amendments to the

sentencing guidelines on offenses involving crack cocaine.         See United States Sentencing

Commission, Guidelines Manual, Supp. to Appendix C, Amendments 706, 711 and 715.

Section 3582(c)(2) authorizes the district court to reduce a term of imprisonment where the

Sentencing Commission has lowered the sentencing range pursuant to 28 U.S.C. § 994(o) and “a

reduction is consistent with applicable policy statements issued by the Sentencing Commission.”

Section 1B1.10, one of the applicable policy statements, provides that a reduction is not authorized

if the retroactive amendments do not apply to defendant or do not have the effect of lowering the

applicable guideline range. Because the Court sentenced defendant based on a statutory minimum,

21 U.S.C. § 841(b)(1)(A), and not the guideline which was affected by the recent amendments,

U.S.S.G. § 2D1.1, he is not entitled to relief.1 See, e.g., U.S.S.G. § 1B1.10, cmt .1(A) (statutory

mandatory minimum sentence may prevent relief under Section 3582(c)); United States v. Lloyd,

No. 08-1234, 2009 WL 427228, at *2 (10th Cir. Feb. 23, 2009) (district court without jurisdiction

to consider Section 3582(c)(2) motion where sentence based on statutory minimum); United States

v. Lagunas, No. 08-1228, 2009 WL 213159, at *2 (10th Cir. Jan. 30, 2009) (same); United States

v. Gonzales, 297 Fed. Appx. 810, 812 (10th Cir. Oct. 29, 2008) (retroactive downward modification

of offense level irrelevant where defendant sentenced based on statutory minimum).

       IT IS THEREFORE ORDERED that defendant’s Motion For Modification Of Sentence




       1
               Because the statutory minimum would be greater than the maximum of the reduced
range calculated under Section 2D1.1 (87 to 108 months), the statutorily required minimum sentence
of 120 months would become the guideline sentence. See U.S.S.G. § 5G1.1(b).

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Pursuant To Title 18 U.S.C. § 3582(c)(2) (Doc. #649) filed April 13, 2009 be and hereby is

OVERRULED.

      Dated this 21st day of April, 2009 at Kansas City, Kansas.

                                           s/ Kathryn H. Vratil
                                           KATHRYN H. VRATIL
                                           United States District Judge




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